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Rod 1. Rosenstein                                                                   SUI/e -100                    DIRI:X'T: -110.209.4983
United Slates ..llIurney                                                            36 S Charles Street             MAIN: 4/0.209.4800
                                                                                    Baltimore. }tD :!1:!O/.3119       FAX: .fI0.962.0717
,\Ial/helr K Ho.,r
Special Asslslant Ullltl'd States AI/orney
Mal/hell'.Hoff@usdoj.gov



                                                                                    March 27, 2015

Gary Edward Proctor, Esquire
Law Offices of Gary E. Proctor LLC
Eight E. Mulberry Street
Baltimore, Maryland 21201

           Re:             United States v. Brian Carr
                           Crim. No. WDQ-14-580

Dear Mr. Proctor:

        This letter, together with the Sealed Supplement, confirms the plea agreement which has
been offered to the Defendant by the United States Attorney's Office for the District of Maryland
("this Office"). If the Defendant accepts this offer, please have him execute it in the spaces
provided below. The terms of the agreement are as follows:

                                                                  Offense of Conviction

        I.     The Defendant agrees to plead guilty to the lesser included charge of Count One
of the Indictment now pending against him, which charges him with conspiracy to distribute and
possess with the intent to distribute 100 grams or mere of he:-oin, in violation of2! V.S.c. ~ 846.
The Defendant admits that he is, in tact, guilty of this otfense and will so advise the Court.

                                                                 Elements of the Offense

        2.     The elements of the offense to which the Defendant has agreed to plead
guilty, and which this Office would prove if the case went to trial, are as follows:

                a.     Between in or about the month of January 2014 and December 10, 2014,
in the District of Maryland, an agreement existed between two or more persons to violate the
federal drug laws by possessing with the intent to distribute 100 grams or more of heroin, a
schedule I controlled substance; and
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               b.      the Defendant knowingly joined in that agreement.

                                             Penalties

         3.     The maximum sentence provided by statute for the offense to which the
 Defendant is pleading guilty is as follows: for a violation of 21 U.S.c. g 846, the maximum
 sentence is 40 years imprisonment, with a mandatory minimum term of imprisonment of 5 years,
 folIowed by a period of supervised release of at least four years, and no more than five years, and
a fine of $5,000,000. In addition, the Defendant must pay $100 per count as a special assessment
pursuant to 18 U.S.C. ~ 3013, which wilI be due and should be paid at or before the time of
sentencing. This Court may also order him to make restitution pursuant to 18 U.S.C. ~~ 3663,
                   1
3663A, and 3664. If a fine or restitution is imposed, it shall be payable immediately, unless,
pursuant to 18 U.S.c. ~ 3572(d}, the Court oiders otherwise. The Defendant understands that if
he serves a term of imprisonment, is released ..on supervised release, and then violates the
conditions of his supervised release, his supervised release could be revoked - even on the last
day of the term - and the Defendant could be returned to custody to serve another period of
incarceration and a new term of supervised release. The Defendant understands that the Bureau
of Prisons has sole discretion in designating the institution at which the Defendant will serve any
term of imprisonment imposed.

                                         Waiver of Rights

        4.      The Defendant understands that by entering into this agreement,      he surrenders
certain rights as outlined below:

                a.      If the Defendant had persisted in his plea of not guilty, he would have had
the right to a speedy jury trial with the close assistance of competent counsel. That trial could be
conducted by a judge, without ajury, if the Defendant, this Office, and the Court alI agreed.

                b.    If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors peremptorily.
All twelve jurors would have to agree unanimously before the Defendant could be found guilty
of any count. The jury would be instructed that the Defendant was presumed to be innocent, and
that presumption could be overcome only by proof beyond a reasonable doubt.

              c.      If the Defendant went to trial, the government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to


               Pursuant to 18 U.S.c. ~ 3612. if the Court imposes a line in excess 01'$2,500 that
remains unpaid 15 days after it is imposed, the Defendant shall be charged interest on that fine,
unless the Court modifies the interest payment in accordance with 18 U.S.c. ~ 3612(f)(3).

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confront and cross-examine the government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in his defense. however, he would have the subpoena power of the Court to compel the witnesses
to attend.
                 d.      The Defendant would have the right to testify in his own defense if he so
chose, and he would have the right to refuse to testify. Ifhe chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

               e.      If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court.s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges
against him. By pleading guilty. the Defendant knowingly gives up the right to appeal the verdict
and the Court's decisions,

                 f:     By pleading guilty. the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have to
answer the Court's questions both about the rights he is giving up and about the facts of his case.
Any statements the Defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for perjury or false statement.

                 g.     If the Court accepts the Defendant's plea of guilty, there will be no further
trial or proceeding of any kind, and the Court will find him guilty.

                h.     By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status.

                              Advisory Sentencing Guidelines Apply

        5.     The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing
Reform Act of 1984 at 18 U.S.c. ~~ 3551-3742 (excepting 18 U.S.c. ~~ 3553(b)(l) and 3742(e»
and 28 U.S.C. ~~ 991 through 998. The Defendant further understands that the Court will
impose a sentence pursuant to the Sentencing Reform Act, as excised, and must take into account
the advisory guidelines range in establishing a reasonable sentence.

                           Factual and Advisory Guidelines Stipulation

        6.     This Office and the Defendant understand, agree and stipulate to the following
Statement of Facts, which this Office would prove beyond a reasonable doubt, and to the
following applicable sentencing guidelines factors:




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               a.      Statement of Facts

        Beginning at least as early as January 2014 and continuing through December 10, 2014,
the Defendant, Brian-Carr, conspired with others, including those defendants named in the
Indictment to distribute quantities of heroin in Baltimore, Maryland. At various times during the
conspiracy, the Defendant would meet with Richard Smith, and others, to obtain quantities of
heroin. The Defendant would then either distribute this heroin to other members of the
conspiracy or to his (the Defendant's) personal use customers. On January 30, 2014, Baltimore
Police Department (BPD) officers recovered fifty-five (55) gel capsules of heroin from the
Defendant. On that date, a search and seizure warrant was executed at the Defendant's residence
and located inside of a china cabinet was a Glock Model 27.40 caliber handgun, serial number
BVH395, loaded with nine (9) rounds of live ammunition. Also located in the china cabinet was
a diploma in the Defendant's name and narcotics paraphernalia.

         At various times -between September and November of 2014, the Bureau of Alcohol,
Tobacco, Firearms, and Explosives obtained authorization to intercept the communications over
the cellular telephones of the Defendant, Bruce Jeffries, and Darrell Randolph. During these
time periods, the Defendant was intercepted discussing the distribution and payment for
quantities of heroin. On November 14, 2014, law enforcement executed a search warrant at a
"stash" house attributable to members of the conspiracy, and recovered from inside of the
location were four hundred (400) gel capsules of heroin, along with another one hundred (100)
gel capsules of heroin from co-conspirator Derek Shorts. This seizure precipitated intercepted
phone conversations between the Defendant and Richard Smith regarding the seizure of heroin.

        The parties stipulate that it was reasonably foreseeable to the Defendant and in
furtherance of the conspiracy that at least one kilogram of heroin, but less than three kilograms
of heroin would be distributed during and in the course of the conspiracy.

        The Government's      evidence consists of. among other things, the testimony of
cooperating witnesses, seizures of narcotics, narcotics paraphernalia and other evidence pursuant
to search warrants and electronic surveillance, including the monitoring of telephone
conversations occurring over the cellular telephones of co-conspirators.

               b.      Guideline Stipulations

       The parties stipulate that the base offense level is at least thirty (30) pursuant to U.S.S.G.
S 201.1 (c)(5), because, during the course of the conspiracy the Defendant conspired to distribute
and possess with the intent to distribute at least I kilogram but less than 3 kilograms of heroin.
The parties stipulate and agree that the oflense level is increased by two (2) levels because the
Defendant possessed a tirearm during the offense, pursuant to U.S.S.G. ~ 2Dl.l(b)(l).




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               c.      Acceptance of Responsibility

                This Office does not oppose a two-level reduction in the Defendant's adjusted
offense level, based upon the Defendant's apparent prompt recognition and affirmative
acceptance of personal responsibility for his criminal conduct. This Office agrees to make a
motion pursuant to U.S.S.G. ~ 3El.l(b) for an additional one-level decrease in recognition of the
Defendant's timely notification of his intention to plead guilty. This Office may oppose any
adjustment for acceptance of responsibility if the Defendant (a) fails to admit each and every
item in the factual stipulation; (b) denies involvement in the offense; (c) gives conflicting
statements about his involvement in the offense; (d) is untruthful with the Court, this Office, or
the United States Probation Office; (e) obstructs or attempts to obstruct justice prior to
sentencing; (t) engages in any criminal conduct between the date of this agreement and the date
of sentencing; or (8) attempts to withdraw his plea of guilty. B?sed on the forgoing. the parties
agree that the Defendant's final adjusted offense level is twenty-nine (29).

        7.      The Defendant understands that there is no agreement as to his criminal history or
criminal history category, and that his criminal history could alter his offense level if he is a
career offender or if the instant offense was a part of a pattern of criminal conduct from which he
derived a substantial portion of his income.

        8.      This Office and the Defendant agree that with respect to the calculation of
The advisory guidelines range, no other offense characteristics, sentencing guidelines factors,
potential departures or adjustments set forth in the United States Sentencing Guidelines are in
dispute. If the Defendant intends to seek a sentence outside the final advisory guideline range,
the Defendant agrees to notify this Office of the factors under 18 U.S.c. ~ 3553(a) on which the
Defendant intends to rely no later than fourteen (14) days prior to the date of sentencing.

                        Obligations of the United States Attorney's Office

        9.      At the time of sentencing, this Oftice will make a recommendation   for a sentence
within the final adjusted guideline range.

        10.     The parties reserve the right to bring to the Court's attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant's background, character and conduct, including the conduct that is the subject of the
counts of the Indictment that this Otlice has agreed to dismiss at sentencing.

                                        Waiver of Appeal

        II.    In exchange for the concessions made by this Otlice and the Defendant in this
plea agreement, this Office and the Defendant waive their rights to appeal as follows:

                a.     The Defendant knowingly waives all right. pursuant to 28 U.S.C. ~ 1291
or otherwise. to appeal the Defendant's conviction;

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                     b.      The Defendant and this Office knowingly waive all right, pursuant to 18
    U.S.C. ~ 3742 or otherwise, to appeal whatever sentence is imposed (including the right to
    appeal any issues that relate to the establishment of the advisory guidelines range, the
    detennination of the defendant's criminal history, the weighing of the sentencing factors, and the
    decision whether to impose and the calculation of any tenn of imprisonment, fine, order of
    forfeiture, order of restitution, and term or condition of supervised release), except as follows: (i)
    the Defendant reserves the right to appeal any sentence greater than the guideline range
    resulting from an offense level of 29: (ii) and this Office reserves the right to appeal any
    sentence less than the guideline range resulting from an offense level of 29.

                    c.      Nothing in this agreement shall be construed to prevent the Defendant or
    this Office from iJ1voking the provisions of Federal Rule of Criminal Procedure 35(&), or from
    appealing from any decision thereunder, should a sentence be imposed that resulted from
    arithmetical, technical, or other clear error.

                    d.      The Defendant waives any and all rights under the Freedom Qf
    Infonnation Act relating to the investigation and prosecution of the above-captioned matter and
    agrees not to file any request for documents from this Office or any investigating agency.

                                       Public Benefits in Drug Cases

            12.     The Defendant understands and acknowledges that under 21 U.S.C. ~~ 862 and
    862(a), a person who has been convicted of a federal offense involving the distribution or
    possession of controlled substances may be denied certain federal and state benefits such as
    loans, grants, or food stamps.

                                   Waiver of~ 851 Enhancement Notice

            13.    In exchange for the Defendant's plea of guilty to Count One of the Indictment
    pursuant to this plea agreement, this Office agrees not to file a notice of the Defendant's prior
    felony drug convictions pursuant to 21 U.S.c. ~ 851. Accordingly, this Office will not rely on
    the Defendant's prior felony drug convictions to enhance the mandatory minimum sentence to
    which the Defendant is subject. Nothing in this paragraph, however, shall be construed to
    prevent the Court from relying on the Defendant's prbr convictions to calculate the Defendant's
    criminal history under the sentencing guidelines or in detennining whether he is a career
    offender or an anned career criminal.

                                  Obstruction or Other Violations of Law

             14.     The Defendant agrees that    he will not commit any offense in violation of federal,
    state or local law between the date of this   agreement and his sentencing in this case. In the event
    that the Defendant (i) engages in conduct      after the date of this agreement which would justify a
    finding of obstruction of justice under        U.S.S.G. ~ 3C 1.1, or (ii) fails to accept personal
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responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or
local law, then this Office will be relieved of its obligations to the Defendant as reflected in this
agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations
other than those set out in this agreement. As with any alleged breach of this agreement, this
Office will bear the burden of convincing the Court of the Defendant's obstructive or unlawful
behavior and/or failure to acknowledge personal responsibility by a preponderance of the
evidence. The Defendant acknowledges that he may not withdraw his guilty plea because this
Office is relieved of its obligations under the agreement pursuant to this paragraph.

                                         ~.ourt Not a Party

         15.    The Defendant expressly understands that the Court is not a party to this
agreement. In the federal system, the sentence to be imposed is within the sole discretion of the
Court. In particular, the Defendant understands that neither the United States Probation Office
nor the Court is bound by the stipulation set forth above, and that the Court will, with the aid of
the Presentence Report, detennine the facts relevant to sentencing. The Defendant understands
that the Court cannot rely exclusively upon the stipulation in ascertaining the factors relevant to
the detennination of sentence. Rather, in detennining the factual basis for the sentence, the
Court will consider the stipulation, together with the results of the presentence investigation, and
any other relevant infonnation. The Defendant understands that the Court is under no obligation
to accept this Office's recommendations, and the Court has the power to impose a sentence up to
and including the statutory maximum stated above. The Defendant understands that if the Court
ascertains factors different from those contained in the stipulation set forth above, or if the Court
should impose any sentence up to the maximum established by statute, the Defendant cannot, for
that reason alone, withdraw his guilty plea, and will remain bound to fulfill all of his obligations
under this agreement. The Defendant understands that neither the prosecutor, his counsel, nor
the Court can make a binding prediction, promise, or representation as to what guidelines range
or sentence the Defendant will receive. The Defendant agrees that no one has made such a
binding prediction or promise.

                                         Entire Agreement

         )6.     This letter supersedes any prior understandings, promises, or conditions between
this Office and the Defendant and, together with the Sealed Supplement, constitutes the complete
plea agreement in this case. The Defendant acknowledges that there are no other agreements,
promises, undertakings or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement and none will be entered into unless in writing
and signed by all parties.

        If the Defendant fully accepts each and every term and condition of this agreement,
please sign and have the Defendant sign the original and return it to me promptly.

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                                             Very truly yours.

                                             Rod J. Rosenstein
                                             United States Attorney


                                             BY:~#
                                             Matthew K. Hoff                     ?

                                             Special Assistant United States Attorney


        I have read this agreement, including the Sealed Supplement, and carefully reviewed
every part of it with my attorney. I understand it, and I voluntarily agree to it. Specifically, I
have reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not
wish to change any part of it. I am completely satisfied with the representation of my attorney.


                                                     ~~
                                                    Brian Carr



        I am Brian Carr's attorney. I have carefully reviewed every part of this agreement,
including the Sealed Supplement, with him. He advises me that he understands and accepts its
terms. To my knowledge. his decision to enter into this agreement is an informed and voluntary
one.




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